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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




FEDERAL TRADE COMMISSION

                       Plaintiff,                        Civil Action No.       -cv-


                       v.

LOCKHEED MARTIN
CORPORATION, and AEROJET
ROCKETDYNE HOLDINGS, INC.




                     PLAINTIFF FEDERAL TRADE COMMISSION’S
                 UNOPPOSED MOTION TO FILE COMPLAINT UNDER SEAL

        Plaintiff Federal Trade Commission (the “Commission”) respectfully moves the Court for

entry of an order, pursuant to Rule 5.2 of the Federal Rules of Civil Procedure and Local Civil

Rule 5.l(h), directing the Clerk of Court to file the Complaint under seal until further order.

The parties will meet and confer, and the Commission will file a public version of its

Complaint redacting information that has been designated confidential by Defendantsand

third parties.

        The filing of the Complaint and the Commission’s need for injunctive relief are time

sensitive and, therefore, counsel for the Commission respectfully asks that the Court rule on this

motion as quickly as possible.

        Plaintiff’s Complaint seeks a preliminary injunction to enjoin Defendant Lockheed

Martin Corporation from acquiring the assets of Defendant Aerojet Rocketdyne Holdings, Inc.,

until the Commission completes an administrative proceeding to determine whether the
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proposed acquisition would violate Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 5

of the FTC Act, 15 U.S.C. § 45. Defendants Lockheed Martin Corporation and Aerojet

RocketDyne Holdings, Inc., as well as third parties have designated certain information

confidential during the Commission’s investigation of the proposed acquisition, undertaken

pursuant to the FTC Act, 15 U.S.C. §§ 41-58. See, e.g., Compl. ¶¶ 4, 11, 22, 46, 56-57, 57-58, &

68.

       The filing of these papers under seal is proper under United States v. Hubbard, 650 F.2d

293 (D.C. Cir. 1980), which controls decisions within this Circuit on whether to seal or redact

court records. The confidential business information contained in the Complaint was provided to

the Commission pursuant to statutory and regulatory guarantees of confidentiality contained in

the Hart-Scott-Rodino Act or the FTC Act. See 15 U.S.C. §§ 18a(h), 46(f), 57b-2(b), 57b-2(c), 6

C.F.R. § 4.10(d)-(g). At least four of the factors identified in Hubbard support the temporary

sealing of the Complaint: counsel for the Commission is unaware of any prior public access to

the relevant information; Defendants and third parties have sought confidential treatment of the

relevant information; Defendants and third parties have a strong property and privacy interest in

avoiding the disclosure of information relevant to current competitive strategies; and Defendants

and third parties face a strong possibility of prejudice in the event that competitively sensitive

information is publicly disclosed. See Primas v. District of Columbia, 719 F.3d 693, 698-99

(D.C. Cir. 2013) (identifying six Hubbard factors relevant to motions to seal, including “the

extent of previous public access to the documents;” “the fact that someone has objected to

disclosure, and the identity of that person;” “the strength of any property and privacy interests

asserted;” and “the possibility of prejudice to those opposing disclosure”); United States v. Aetna

Inc., No. 16-cv-1494, 2016 WL 8739257, at *4 (D.D.C. Dec. 4, 2016) (recommending grant of

defendants’ motion to seal confidential business information in a proceeding brought to
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